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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

HDS RETAIL NORTH AMERICA, LLC                        §
and TRAVEL RETAIL NORTH AMERICA,                     §
INC. d/b/a PARADIES LAGARDÈRE                        §
TRAVEL RETAIL,                                       §
                                                     §
                Plaintiffs,                          §
                                                     §
v.                                                   §                   1:18-CV-79-RP
                                                     §
PETORE ASSOCIATES, INC. d/b/a                        §
PETORE CONSTRUCTION and                              §
TED VITALE,                                          §
                                                     §
                Defendants.                          §

                                                ORDER

        Before the Court is a Motion for Entry of Default Judgment filed by Plaintiffs HDS Retail

North America, LLC (“HDS”) and LS Travel Retail North America, Inc. (“LS Travel”) (collectively,

“Plaintiffs”). (Dkt. 15). Having reviewed the motion, the record, and the relevant law, the Court

finds that the motion should be granted.

                                         I. BACKGROUND

        Plaintiffs allege the following facts in their complaint. (See Dkt. 1). Plaintiffs hired Defendant

Petore Associates, Inc. d/b/a Petore Construction (“Petore”) to build retail space in the Austin-

Bergstrom International Airport and the Dallas/Fort Worth International Airport. (Id. ¶¶ 1, 15–25).

Defendant Ted Vitale (“Vitale”) is Petore’s Chief Executive Officer. (Id. ¶ 2). Plaintiffs executed a

series of contracts with Petore concerning multiple discrete construction projects. (Id. ¶¶ 15–25).

These contracts each provided that whenever Plaintiffs paid Petore, Petore would promptly pay its

subcontractors the portion of Plaintiffs’ payment attributable to the subcontractor’s work. (Id. ¶ 28).

Petore violated these contractual provisions by failing to pay its subcontractors. (Id. ¶¶ 27–45). For

example, Plaintiffs paid Petore $139,734.93 for work performed by Alman Construction Services,
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LP (“Alman”), but Petore failed to pay Alman for its work. (Id. ¶ 35). Plaintiffs eventually paid

$142,735 directly to Alman—the amount owed Alman, plus attorneys’ fees Alman incurred pursuing

payment from Petore. (Id. ¶ 44). Plaintiffs also paid Petore for anticipated work that was never

performed. (Id. ¶¶ 59–64). Petore refused to refund Plaintiffs’ payments to subcontractors or for

unperformed work. (Id. ¶¶ 63–72).

        In addition, Petore agreed to procure performance and payment bonds as surety for the

performance of its contractual obligations. (Id. ¶ 46). Petore and Vitale (collectively, “Defendants”)

represented that Petore had procured those bonds; Vitale executed fake bonds and submitted them

to Plaintiffs. (Id. ¶¶ 47, 52–54). Defendants charged Plaintiffs for premiums on the fake bonds,

which Plaintiffs paid. (Id. ¶ 47). Plaintiffs later learned that Defendants never procured those bonds.

(Id. ¶¶ 55–58).

        Out of these allegations, Plaintiffs assert several causes of action. Plaintiffs seek overlapping

relief against Petore for breach of contract and unjust enrichment. (Id. ¶¶ 73–89). Plaintiffs asserts

causes of action for fraud under Texas law and wire fraud in violation of 18 U.S.C. § 1343 against

Defendants. (Id. ¶¶ 90–113).

        Plaintiffs filed their original complaint in this action on January 29, 2018. (Id.). Summons was

delivered to Petore on February 8, 2018, and to Vitale on February 14, 2018. (Dkts. 9, 10).

Defendants admit that they received service and allege no error in service. (See Vitale Aff., Dkt. 16-

2). Defendants nonetheless failed to plead, respond, or otherwise defend against the action. Upon

motion, the clerk of the Court then entered default against Petore on March 6, 2018, and against

Vitale on March 15, 2018. (Dkts. 12, 14). Neither party took any action for three months; Plaintiffs

then filed a motion for default judgment on June 21, 2018. (Dkt. 15). Four days later, Defendants

took their first action in this litigation by filing a motion to set aside the entries of default. (Dkt. 16).




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The Court denied that motion. (Dkt. 20). Now before the Court is Plaintiffs’ motion for default

judgment. Defendants have filed no response.1

                                             II. LEGAL STANDARD

         Under Rule 55 of the Federal Rules of Civil Procedure, federal courts have the authority to

enter a default judgment against a defendant that has failed to plead or otherwise defend itself. Fed.

R. Civ. P. 55(a)–(b). That said, “[d]efault judgments are a drastic remedy, not favored by the Federal

Rules and resorted to by courts only in extreme situations.” Sun Bank of Ocala v. Pelican Homestead &

Sav. Ass’n, 874 F.2d 274, 276 (5th Cir. 1989). A party is not entitled to a default judgment simply

because the defendant is in default. Ganther v. Ingle, 75 F.3d 207, 212 (5th Cir. 1996). Rather, a default

judgment is generally committed to the discretion of the district court. Mason v. Lister, 562 F.2d 343,

345 (5th Cir. 1977).

                                                 III. DISCUSSION

         In considering Plaintiffs’ motion, the Court must determine: (1) whether default judgment is

procedurally warranted, (2) whether Plaintiffs’ complaint sets forth facts sufficient to establish that

they are entitled to relief, and (3) what form of relief, if any, Plaintiffs should receive. United States v.

1998 Freightliner Vin #: 1FUYCZYB3WP886986, 548 F. Supp. 2d 381, 384 (W.D. Tex. 2008); see also

J & J Sports Prods., Inc. v. Morelia Mexican Rest., Inc., 126 F. Supp. 3d 809, 813 (N.D. Tex. 2015) (using

the same framework).

                                               A. Procedural Requirements

         To determine whether entry of a default judgment is procedurally warranted, district courts

in the Fifth Circuit consider six factors: “[1] whether material issues of fact are at issue, [2] whether

there has been substantial prejudice, [3] whether the grounds for default are clearly established, [4]

1 Given Defendants’ failure to respond, the Court may consider Plaintiffs’ motion to be unopposed. W. D. Tex. Loc. R.
CV-7(e)(2). However, the Court acknowledges the Fifth Circuit’s reluctance to dispose of a cause of action simply for
failure to comply with a response deadline imposed by the Local Rules. See Johnson v. Pettiford, 442 F.3d 917, 918 (5th Cir.
2006) (noting disapproval of an automatic grant of a dispositive motion for failure to comply with local rules).

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whether the default was caused by a good faith mistake or excusable neglect, [5] the harshness of a

default judgment, and [6] whether the court would think itself obliged to set aside the default on the

defendant’s motion. Lindsey v. Prive Corp., 161 F.3d 886, 893 (5th Cir. 1998).

        The Lindsey factors weigh in favor of entering a default judgment against Defendants. By

failing to file an answer, Defendants have failed to place material facts in dispute. See Nishimatsu

Const. Co., Ltd. v. Hous. Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975) (“The defendant, by his

default, admits the plaintiff’s well pleaded allegations of fact.”). Defendants’ failure to respond

prejudiced Plaintiffs’ interest in pursuing their claim for relief. See J & J Sports, 126 F. Supp. 3d at

814 (“Defendants’ failure to respond threatens to bring the adversary process to a halt, effectively

prejudicing Plaintiff’s interests.”) (citation and quotation marks omitted). The grounds for default

are established: as this Court found in a recent order, Defendants willfully failed to file an answer or

otherwise respond to Plaintiffs’ complaint. (Order, Dkt. 20, at 2–5). Although Plaintiffs seek

substantial damages arising out of Defendants’ alleged conduct, default judgment “is not overly

harsh when the remedies sought are directly related to the defendant’s conduct.” Boost Worldwide, Inc.

v. Cobos, EP-12-CV-0342-KC, 2012 WL 12881968, at *4 (W.D. Tex. Dec. 21, 2012). Finally, the

Court is not aware of any facts that would obligate it to set aside the default if challenged by

Defendants. (See Order, Dkt. 20). The Court therefore finds that default judgment is procedurally

warranted.

                                    B. Sufficiency of Plaintiffs’ Complaint

        Default judgment is proper only if the well-pleaded factual allegations in Plaintiffs’ complaint

establish a valid cause of action. Nishimatsu Constr., 515 F.2d at 1206. By defaulting, a defendant

“admits the plaintiff’s well-pleaded allegations of fact.” Id. In determining whether factual allegations

are sufficient to support a default judgment, the Fifth Circuit employs the same analysis used to

determine sufficiency under Rule 8. Wooten v. McDonald Transit Assocs., Inc., 788 F.3d 490, 498 (5th


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Cir. 2015). A complaint must contain “a short and plain statement of the claim showing that the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The factual allegations in the complaint need

only “be enough to raise a right to relief above the speculative level, on the assumption that all the

allegations in the complaint are true (even if doubtful in fact).” Wooten, 788 F.3d at 498 (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). While “detailed factual allegations” are not required,

the pleading must present “more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

                            1. Breach of Contract and Unjust Enrichment—Petore

          Plaintiffs assert one cause of action for breach of contract and another labeled unjust

enrichment2 against Petore. (Compl., Dkt. 1, at 11–13). The elements of a breach of contract claim

are “‘(1) a valid contract; (2) the plaintiff performed or tendered performance; (3) the defendant

breached the contract; and (4) the plaintiff was damaged as a result of the breach.’” Brooks v.

Excellence Mortgage, Ltd., 486 S.W.3d 29, 36 (Tex. App.—San Antonio 2015, pet. denied) (quoting

McLaughlin, Inc. v. Northstar Drilling Techs., Inc., 138 S.W.3d 24, 27 (Tex. App.—San Antonio 2004, no

pet.)).


          Plaintiffs allege that they had several valid contracts with Petore to build retail spaces in the

Austin and Dallas airports. (Compl., Dkt. 1, at 3–4). These contracts provided that whenever

Plaintiffs paid Petore, Petore would promptly pay its subcontractors the portion of Plaintiffs’

payment attributable to the subcontractor’s work. (Id. ¶ 28). Plaintiffs allege that they performed

their obligations by making interim payments to Petore. (Id. at 5–7). Plaintiffs allege that Petore

breached its contractual obligation to pay a subcontractor, Alman, for $139,734.93 of work, forcing


2 “[U]njust enrichment is not a distinct independent cause of action but simply a theory of recovery.” Mowbray v. Avery,
76 S.W.3d 663, 679 (Tex. App.—Corpus Christi 2002, pet. denied) (citing cases). However, “[w]hile ‘unjust enrichment’
is not per se a cause of action, an action for restitution, or seeking the imposition of a constructive trust, may lie on the
legal theory of unjust enrichment.” Id. (citing HECI Exploration Co. v. Neel, 982 S.W.2d 881, 891 (Tex. 1998)).

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Plaintiffs to make a separate payment in that amount directly to Alman. (Id. ¶ 35). In addition,

Plaintiffs allege they were forced to pay an additional $3,000 to Alman to cover its attorney’s fees

incurred pursuing payment from Petore. (Id. ¶ 44). Altogether, Plaintiffs allege that they incurred

$142,735.00 in damages from Petore’s breach related to Alman’s work. (Id.).3 Plaintiffs have stated a

plausible claim that Petore is liable for breach of contract on these allegations.

         Plaintiffs also allege Petore sought payment in the amount of $325,793.53 for three

anticipated projects—the expansion of the “Second Bar & Kitchen project,” the “Departure

Lounge/Berry Project” and the “Barton Springs/Ruta Maya Project”—that were ultimately

cancelled.4 (Id. at 9–11). Because these three projects were cancelled, Petore did not perform work

on them. (Id. ¶ 68). Plaintiffs complain that Petore “refused to return the [money]” and that Petore

is “not entitled to misappropriate [the money] to its own use.” (Id. ¶¶ 71–72). However, Plaintiffs do

not allege that Petore breached any contractual provision by failing to return these payments.

Moreover, Plaintiffs allege that at least one of the projects was cancelled because of actions outside

the parties’ control: it was not approved by Delta Air Lines. (Id. ¶ 62). Plaintiffs attach their

contracts for these three projects to their motion for default judgment, but do not point to any

provision obligating Petore to return a payment made for anticipated work if that work is not

ultimately performed. (Contracts, Dkt. 15-2, at 78–193). Plaintiffs’ allegation that Petore “is not

entitled to misappropriate” the three payments for these projects is conclusory; it does not suffice to

state a plausible claim that Petore breached a specific contract provision by not returning these three

payments.



3 Plaintiffs also allege that Petore failed to pay two other subcontractors, but they do not allege that they incurred
damages as a result of those nonpayments. (Compl., Dkt. 1, ¶¶ 36–37). Moreover, Plaintiffs do not seek damages
resulting from those nonpayments in their motion for default judgment. (See Foreman Aff., Dkt. 15-1).
4Plaintiffs list their damages for each project as follows: $83,272.20 for the Second Bar & Kitchen project, (Compl.,
Dkt. 1, ¶ 63); $148,088.79 for the Departure Lounge/Berry project, (id. ¶ 65); and $94,432.54 for the Barton
Springs/Ruta Maya project, (id. ¶ 66).

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        However, Plaintiffs also allege that Petore has been unjustly enriched by the $325,793.53

paid for these three uncompleted projects. (Id. at 12–13). “Unjust enrichment occurs when a person

has wrongfully secured a benefit or has passively received one which it would be unconscionable to

retain.” Eun Bok Lee v. Ho Chang Lee, 411 S.W.3d 95, 111 (Tex. App.—Houston [1st Dist.] 2013, no

pet.). “A person is unjustly enriched when he obtains a benefit from another by fraud, duress, or the

taking of an undue advantage.” Id. “A plaintiff may also recover under this equitable doctrine if a

contemplated agreement is unenforceable, impossible, not fully performed, thwarted by mutual

mistake, or void for other legal reasons.” Id. (citing Heldenfels Bros., Inc. v. City of Corpus Christi, 832

S.W.2d 39, 41 (Tex. 1992)); see also Oxford Fin. Companies, Inc. v. Velez, 807 S.W.2d 460, 465 (Tex.

App.—Austin 1991, writ denied) (“[A]n action for restitution based on unjust enrichment will lie ‘to

recover money received on a consideration that has failed in whole or in part.’”) (quoting Barrett v.

Ferrell, 550 S.W.2d 138, 143 (Tex. Civ. App.—Tyler 1977, writ ref’d n.r.e.)). However, “[u]njust

enrichment is not a proper remedy . . . merely because it might appear expedient or generally fair

that some recompense be afforded for an unfortunate loss or because the benefits to the person

sought to be charged amount to a windfall.” Id. at 112 (citing Heldenfels Bros., 832 S.W.2d at 42).

        As discussed above, Plaintiffs have alleged that its contracts for the Second Bar & Kitchen

project, the Departure Lounge/Berry project and the Barton Springs/Ruta Maya project were not

fully performed. By these allegations, Plaintiffs seek to recover money received on a consideration

that failed in whole. (See Compl., Dkt. 1, ¶ 69 (“Petore did not perform any work.”)). As discussed

below, Plaintiffs also argue that Petore obtained benefits from Plaintiffs (payments for these two

projects) by fraud (inducing Plaintiffs to contract by misrepresenting the existence of valid

performance bonds). (Id. ¶¶ 46–58, 90–106). These allegations suffice to state a plausible claim for

restitution based on unjust enrichment.




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                                      2. Fraud—Petore and Vitale

        Plaintiffs assert a cause of action for fraud against both Petore and Vitale. (Id. at 13–15). “To

prevail on a fraud claim, a plaintiff must show: (1) the defendant ‘made a material representation that

was false’; (2) the defendant ‘knew the representation was false or made it recklessly as a positive

assertion without any knowledge of its truth’; (3) the defendant intended to induce the plaintiff to

act upon the representation; and (4) the plaintiff actually and justifiably relied upon the

representation and suffered injury as a result.” JPMorgan Chase Bank, N.A. v. Orca Assets G.P., L.L.C.,

546 S.W.3d 648, 653 (Tex. 2018), reh’g denied (June 15, 2018) (quoting Ernst & Young, L.L.P. v. Pac.

Mut. Life Ins. Co., 51 S.W.3d 573, 577 (Tex. 2001)). “The fourth element has two requirements: the

plaintiff must show that it actually relied on the defendant’s representation and, also, that such

reliance was justifiable.” Id. “A corporate officer who knowingly participates in tortious or

fraudulent acts may be held individually liable to third persons even though he performed the act as

an agent of the corporation.” Nwokedi v. Unlimited Restoration Specialists, Inc., 428 S.W.3d 191, 201

(Tex. App.—Houston [1st Dist.] 2014, pet. denied).

        Plaintiffs allege that Defendants represented that they had executed performance bonds to

induce Plaintiffs to contract with Petore and to make payments to Petore. (Compl., Dkt. 1, ¶ 52).

Plaintiffs allege that Vitale executed fake bonds and submitted them to Plaintiffs. (Id. ¶ 53). Plaintiffs

allege that Defendants charge Petore premiums for these non-existent performance bonds, which

Plaintiffs paid. (Id. ¶¶ 47, 97). Plaintiffs allege that they would not have paid Petore for the Alman

work if it had known that Defendants had not executed performance bonds. (Id. ¶ 102).

Accordingly, Plaintiffs allege that Petore and Vitale are jointly and severally liable for the damages

arising out of the Alman work, the Second Bar & Kitchen project, the Departure Lounge/Berry

project, and the Barton Springs/Ruta Maya Project. (Id. ¶¶ 102–05). These allegations are sufficient

to state a plausible fraud claim against both Petore and Vitale.


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                                                 C. Relief

        Federal Rule of Civil Procedure 54(c) states that “[a] default judgment must not differ in

kind from, or exceed in amount, what is demanded in the pleadings.” Fed. R. Civ. P. 54(c). In

other words, the relief prayed for in a complaint defines the scope of relief available on default

judgment. Id.

        A defendant’s default concedes the truth of the allegations of the complaint concerning the

defendant’s liability, but not damages. United States v. Shipco Gen. Inc., 814 F.2d 1011, 1014 (5th Cir.

1987). Ordinarily, damages will not be awarded without a hearing or a demonstration by detailed

affidavits establishing the necessary facts. United Artists Corp. v. Freeman, 605 F.2d 854, 857 (5th Cir.

1979). However, when the amount of damages or costs can be determined with certainty by

reference to the pleadings and supporting documents, and when a hearing would not be beneficial, a

hearing is unnecessary. James v. Frame, 6 F.3d 307, 310 (5th Cir. 1993). A sum capable of

mathematical calculation is one that can be “computed with certainty by reference to the pleadings

and supporting documents alone.” Id. at 311.

        In their complaint, Plaintiffs seek actual damages as follows: (1) $142,735.00 for their

payments to Alman, (Compl., Dkt. 1, ¶ 44).; (2) $83,272.20 for the Second Bar & Kitchen project,

(id. ¶ 63); $148,088.79 for the Departure Lounge/Berry project, (id. ¶ 65); and $94,432.54 for the

Barton Springs/Ruta Maya project, (id. ¶ 66). Because Vitale’s misrepresentations induced Plaintiffs

to make these payments, Plaintiffs’ complaint seeks to hold Vitale and Petore jointly and severally

liable for these damages. (Id. ¶¶ 102–05). The sum of these damages is $468,528.53. In their motion

for default judgment, however, Plaintiffs only seek to hold Petore liable for the full sum; against

Vitale, Plaintiffs seek damages for only the amount attributable to the Alman work. (Mot. Default J.,

Dkt. 15, at 2).




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       Plaintiffs’ damages can be calculated with certainty by reference the complaint and

supporting documents. Plaintiffs filed an affidavit from Richard Foreman (“Foreman”), who was

responsible for the projects described in the complaint. (Foreman Aff., Dkt. 15-1, at 3). Foreman

testifies that the damages described in the complaint are warranted. (Id. at 4–8). Foreman’s affidavit

is supported by invoices, charge orders, payment applications, checks, and copies of wire transfers

consistent with his testimony. (Dkts. 15-3–15-13). Accordingly, Plaintiffs have established their

damages with sufficient evidence that a hearing is unnecessary.

                                        IV. CONCLUSION

       For the reasons given above, the Court GRANTS Plaintiffs’ Motion for Entry of Default

Judgment (Dkt. 15). The Court will enter final judgment in a separate order.

       SIGNED on December 21, 2018.



                                              _____________________________________
                                              ROBERT PITMAN
                                              UNITED STATES DISTRICT JUDGE




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